Case 2:12-cr-20066-KHV          Document 2013         Filed 02/21/17      Page 1 of 12




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )                      CRIMINAL ACTION
                         Plaintiff,         )                      No. 12-20066-38-KHV
                                            )
v.                                          )                      CIVIL ACTION
                                            )                      No. 16-2598-KHV
RIKO CARTER,                                )
                                            )
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

       This matter is before the Court on defendant’s Motion To Vacate, Set Aside, Or Correct

Sentence Under 28 U.S.C. § 2255 By U.S.S.G. Amendment § 3B1.2 (ECF No. 1971). On October 14,

2016, the government filed a response. See Government’s Response To Defendant’s Motion To

Vacate, Set Aside Or Correct Sentence Under 28 U.S.C. § 2255 By U.S.S.G. Amendment § 3B1.2

(ECF No. 1981). Defendant did not file a reply. For reasons stated below, the Court overrules

defendant’s motion.

                                         BACKGROUND

       On October 3, 2012, a grand jury charged Riko Carter and 51 other defendants with

conspiracy to manufacture, to possess with intent to distribute and to distribute 280 grams or more

of cocaine base and to possess with intent to distribute and to distribute five kilograms or more of

a mixture and substance containing cocaine. See Second Superseding Indictment (ECF No. 402),

Count 1. On May 28, 2013, Mr. Carter pled guilty. See Plea Agreement (ECF No. 671).

       At sentencing, the Court calculated a base offense level of 34 under U.S.S.G. § 2D1.1 based

on a drug quantity of 2.75 kilograms of cocaine base. See Presentence Investigation Report (ECF

No. 1131), ¶¶ 96, 100-01 (base offense level 34 for offense involving at least 840 grams but less than
Case 2:12-cr-20066-KHV          Document 2013         Filed 02/21/17     Page 2 of 12




2.8 kilograms of cocaine base under 2013 version of Guidelines). The Court added three levels

under U.S.S.G. § 2D1.1(b)(1) because defendant possessed a dangerous weapon during the offense.

See id., ¶ 102. The Court then subtracted three levels for defendant’s acceptance of responsibility.

See id., ¶¶ 108-09. Based on a criminal history category IV and a total offense level of 33,

defendant’s advisory guideline range was 188 to 235 months. See id., ¶ 152.

       On May 12, 2014, the undersigned judge, sitting by designation, sentenced Mr. Carter to

188 months in prison. See Judgment In A Criminal Case (ECF No. 1524) at 2. On June 8, 2015,

in light of Amendment 782 to the Sentencing Guidelines, which reduced by two levels defendant’s

base offense level, the Honorable Kathryn H. Vratil reduced defendant’s sentence to 151 months.

See Order Regarding Motion For Sentence Reduction Pursuant To 18 U.S.C. § 3582(c)(2) (ECF

No. 1785).

       On August 29, 2016, defendant filed a motion to vacate his sentence under 28 U.S.C. § 2255.

Defendant asserts that under Amendment 794 to the Sentencing Guidelines, the Court should apply

a mitigating role adjustment under Section 3B1.2 and resentence him to a term of 120 months, the

statutory minimum term of imprisonment.1

                                          DISCUSSION

       The standard of review of Section 2255 petitions is quite stringent. The Court presumes that

the proceedings which led to defendant’s conviction were correct. See Klein v. United States,



       1
               Because the United States Sentencing Commission has not specifically designated
Amendment 794 for retroactive application, the Court lacks authority to apply Amendment 794
under Section 3582(c)(2). See 18 U.S.C. § 3582(c)(2) (court may reduce sentence where consistent
with policy statements of Commission); U.S.S.G. § 1B1.10 (if amendment not listed in
subsection 1B1.10(c), reduction not consistent with policy statement). The Court therefore
considers defendant’s motion solely under 28 U.S.C. § 2255.

                                                -2-
Case 2:12-cr-20066-KHV          Document 2013         Filed 02/21/17      Page 3 of 12




880 F.2d 250, 253 (10th Cir. 1989).

I.     Procedural Bar – Timeliness Of Motion

       The government asserts that defendant’s motion is untimely. See Government’s Response

To Defendant’s Motion To Vacate, Set Aside Or Correct Sentence Under 28 U.S.C. § 2255 By

U.S.S.G. Amendment § 3B1.2 (ECF No. 1981) at 3-5. Section 2255 provides a one-year period of

limitation which runs from the latest of—

       (1) the date on which the judgment of conviction becomes final;

       (2) the date on which the impediment to making a motion created by governmental
       action in violation of the Constitution or laws of the United States is removed, if the
       movant was prevented from making a motion by such governmental action;

       (3) the date on which the right asserted was initially recognized by the Supreme
       Court, if that right has been newly recognized by the Supreme Court and made
       retroactively applicable to cases on collateral review; or

       (4) the date on which the facts supporting the claim or claims presented could have
       been discovered through the exercise of due diligence.

28 U.S.C. § 2255(f). Here, the Clerk entered judgment on May 12, 2014. Defendant did not appeal

the judgment of conviction so it was final 14 days later on May 26, 2014. United States v. Prows,

448 F.3d 1223, 1227-28 (10th Cir. 2006) (if defendant does not file direct appeal, conviction

becomes final upon expiration of time in which to take direct criminal appeal); Fed. R. App. P. 4(b)

(defendant must file appeal within 14 days of entry of judgment). Therefore defendant had until

May 26, 2015 to file a Section 2255 motion.

       Defendant filed his motion to vacate on August 29, 2016, more than one year after the

statutory deadline.     Defendant apparently attempts to invoke the tolling provision of

Section 2255(f)(4). See (ECF No. 1971-1) at 4. Defendant suggests that until Amendment 794

clarified application of Section 3B1.2, he could not have known of his potential argument that he

                                                -3-
Case 2:12-cr-20066-KHV           Document 2013          Filed 02/21/17       Page 4 of 12




qualified for a minor role reduction. See id. Amendment 794 supplements the Commentary to

provide additional guidance to district courts in determining when a mitigating role adjustment

applies under Section 3B1.2, but it did not provide an additional basis to reduce a defendant’s

offense level. See Amendment 794, Supp. to App. C (Nov. 1, 2015). Therefore defendant could

have raised his argument under Section 3B1.2 well before the effective date of Amendment 794.

In any event, the tolling provision of Section 2255(f)(4) refers to discovery of “facts” supporting a

claim, “not a failure to appreciate the legal significance of those facts.” United States v. Collins, 364

F. App’x 496, 498 (10th Cir. 2010) (citing Marsh v. Soares, 223 F.3d 1217, 1220 (10th Cir. 2000));

see United States v. Hines, 592 F. App’x 755, 755 (10th Cir. 2015) (recent Supreme Court decision

does not constitute newly discovered fact under Section 2255(f)(4)). Defendant has not shown that

he recently discovered any new “facts” related to his relative role in the offense. Because defendant

in due diligence could have sought a mitigating role adjustment under the prior Commentary, he

cannot show that he qualifies for tolling under Section 2255(f)(4) based on the amended

Commentary.2

        Defendant has not alleged a sufficient basis for equitable tolling. Initially, to show a basis

for equitable tolling, defendant bears the burden to establish that he has been pursuing his rights

diligently and that some extraordinary circumstances stood in his way. Barnes v. United States, 776

F.3d 1134, 1150 (10th Cir. 2015). Defendant does not explain why (1) he did not file an appeal or

otherwise pursue the mitigating role adjustment or (2) it took him some ten months after the



        2
                Defendant has not asserted any impediment to filing his motion created by
governmental action so he does not qualify for tolling under Section 2255(f)(2). Because defendant
relies solely on an amendment to the Sentencing Guidelines and not a right newly recognized by the
Supreme Court, he also cannot establish tolling under Section 2255(f)(3).

                                                  -4-
Case 2:12-cr-20066-KHV          Document 2013          Filed 02/21/17     Page 5 of 12




effective date of Amendment 794 to file his Section 2255 motion. Accordingly, defendant has not

shown that he is entitled to equitable tolling of the limitations period. See Fleming v. Evans, 481

F.3d 1249, 1257 (10th Cir. 2007) (petitioner must show that he acted with reasonable diligence);

Gibson v. Klinger, 232 F.3d 799, 807 (10th Cir. 2000) (petitioner must show that after learning

pertinent facts, he diligently pursued federal habeas claim).

       Defendant also has not shown that his substantive claim falls within the narrow confines of

the equitable tolling doctrine.    Equitable tolling is available only in rare and exceptional

circumstances such as when a prisoner is “actually innocent.”3 Gibson, 232 F.3d at 808. In this

regard, actual innocence means factual innocence, not mere legal insufficiency. Bousley v. United

States, 523 U.S. 614, 623 (1998); see Sawyer v. Whitley, 505 U.S. 333, 339 (1992). Here, defendant

asserts that he should have received a lower sentence. In similar contexts, the Tenth Circuit has held

that a defendant cannot be actually innocent of a noncapital sentence.4 See Jones v. Martin, 622 F.

App’x 738, 740 (10th Cir. 2015); Laurson v. Leyba, 507 F.3d 1230, 1233 (10th Cir. 2012); see also

United States v. Richards, 5 F.3d 1369, 1371 (10th Cir. 1993) (to satisfy “fundamental miscarriage

of justice” exception, defendant must show innocence of offense for which he was convicted, not

innocence of higher sentence). In addition, the actual innocence exception does not apply because


       3
                This exception ordinarily is applied in the context of new evidence. In that context,
a petitioner must demonstrate that “it is more likely than not that no reasonable juror would have
convicted him in light of the new evidence.” Schlup v. Delo, 513 U.S. 298, 327 (1995); see Bousley
v. United States, 523 U.S. 614, 623 (1998) (applying Schlup to Section 2255 motions). As explained
above, defendant has not alleged the discovery of any new evidence.
       4
               To show actual innocence of a sentence in a capital case, petitioner must show
“factual innocence of the aggravating factors that render one eligible for the death sentence.” Selsor
v. Kaiser, 22 F.3d 1029, 1036 (10th Cir. 1994) (citing Sawyer, 505 U.S. at 347).



                                                 -5-
Case 2:12-cr-20066-KHV          Document 2013          Filed 02/21/17     Page 6 of 12




Mr. Carter does not assert that he is factually innocent of a certain base offense level or an

enhancement. See United States v. Burks, 643 F. App’x 757, 758 (10th Cir. 2016) (defendant not

entitled to coram nobis relief on claim of actual innocence of career offender enhancement because

claim based on legal classification of underlying convictions, rather than actual innocence); see also

Selsor, 22 F.3d at 1036 (to show actual innocence of sentence in habitual offender case, petitioner

must show he is innocent of fact of prior conviction which was used to enhance sentence).

       For reasons stated above, defendant has not shown a sufficient factual basis to toll the one-

year deadline under 28 U.S.C. § 2255. Therefore the Court overrules defendant’s Section 2255

motion as untimely.

II.    Procedural Bar – Waiver Of Collateral Challenges

       The government also asserts that defendant’s motion is barred by the waiver of collateral

challenges in the plea agreement. See Government’s Response To Defendant’s Motion To Vacate,

Set Aside Or Correct Sentence Under 28 U.S.C. § 2255 By U.S.S.G. Amendment § 3B1.2 (ECF

No. 1981) at 5-7. A knowing and voluntary waiver of the statutory right to appeal or to collaterally

attack a sentence is generally enforceable. United States v. Chavez-Salais, 337 F.3d 1170, 1172

(10th Cir. 2003); United States v. Cockerham, 237 F.3d 1179, 1181 (10th Cir. 2001). The Court

applies a three-pronged analysis to evaluate the enforceability of such a waiver: (1) whether the

disputed issue falls within the scope of the waiver; (2) whether defendant knowingly and voluntarily

waived his rights; and (3) whether enforcing the waiver would result in a miscarriage of justice.

United States v. Hahn, 359 F.3d 1315, 1325 (10th Cir. 2004) (en banc).

       In the plea agreement, defendant waived his right to collaterally attack “any matter in

connection with this prosecution, [his] conviction, or the components of the sentence.” Plea


                                                 -6-
Case 2:12-cr-20066-KHV         Document 2013          Filed 02/21/17     Page 7 of 12




Agreement (ECF No. 671), ¶ 13.5 Defendant’s claim that the Court should grant him a mitigating

role adjustment alleges an error in sentencing, which falls within the scope of the broad waiver in

the plea agreement. Defendant has not alleged any basis for a claim that would fall within the

exception to the waiver such as a claim of ineffective assistance of counsel or prosecutorial

misconduct.

       Defendant does not challenge that he knowingly and voluntarily waived his rights. Nothing

in the record suggests that defendant’s plea or waiver of post-conviction rights was unknowing or

involuntary.


       5
               The plea agreement states in relevant part as follows:

               13.     Waiver of Appeal and Collateral Attack. The defendant knowingly
       and voluntarily waives any right to appeal or collaterally attack any matter in
       connection with this prosecution, the defendant’s conviction, or the components of
       the sentence to be imposed herein including the length and conditions of supervised
       release, as well as any sentence imposed upon a revocation of supervised release.
       The defendant is aware that Title 18, U.S.C. § 3742 affords a defendant the right to
       appeal the conviction and sentence imposed. By entering into this agreement, the
       defendant knowingly waives any right to appeal a sentence imposed which is within
       the guideline range determined appropriate by the court. The defendant also waives
       any right to challenge a sentence or otherwise attempt to modify or change his
       sentence or manner in which it was determined in any collateral attack, including, but
       not limited to, a motion brought under Title 28, U.S.C. § 2255 [except as limited by
       United States v. Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001)], a motion
       brought under Title 18, U.S.C. § 3582(c)(2) and a motion under Fed. Rule of Civ.
       Pro. 60(b). In other words, the defendant waives the right to appeal the sentence
       imposed in this case except to the extent, if any, the court departs upwards from the
       applicable sentencing guideline range determined by the court. However, if the
       United States exercises its right to appeal the sentence imposed as authorized by
       Title 18, U.S.C. § 3742(b), the defendant is released from this waiver and may appeal
       the sentence as authorized by Title 18, U.S.C. § 3742(a). Notwithstanding the
       forgoing waivers, the parties understand that the defendant in no way waives any
       subsequent claims with regards to ineffective assistance of counsel or prosecutorial
       misconduct.

Plea Agreement (ECF No. 671), ¶ 13.

                                                -7-
Case 2:12-cr-20066-KHV          Document 2013          Filed 02/21/17      Page 8 of 12




       Defendant also has not alleged facts to show that enforcement of the waiver would result in

a miscarriage of justice. To show a miscarriage of justice, defendant bears the burden to establish

that (1) the district court relied on an impermissible factor such as race; (2) counsel provided

ineffective assistance in conjunction with negotiation of the waiver; (3) the sentence exceeds the

statutory maximum; or (4) the waiver is otherwise unlawful in the sense that it suffers from error that

seriously affects the fairness, integrity or public reputation of judicial proceedings. Hahn, 359 F.3d

at 1327. Enforcement of the waiver does not implicate any of these factors. Defendant received a

sentence of 188 months in prison, which was at the low end of the advisory Guidelines range and

well below the statutory maximum of life in prison. See United States v. Porter, 405 F.3d 1136,

1144 (10th Cir. 2005) (“statutory maximum” under Hahn refers to statute of conviction).

Enforcement of the waiver does not seriously affect the fairness, integrity or public reputation of the

proceedings. See United States v. Maldonado, 410 F.3d 1231, 1233-34 (10th Cir. 2005) (waiver of

appellate rights enforced where sentence did not exceed statutory maximum and was based on

judge-made findings).

       For reasons stated above, the Court finds that defendant’s waiver of collateral challenges in

the plea agreement is enforceable and bars defendant’s present motion.

III.   Substantive Merit Of Defendant’s Claim

       Defendant’s claim also lacks substantive merit.          Defendant argues that in light of

Amendment 794 to the Sentencing Guidelines which clarified Section 3B1.2, the Court erred in

refusing to reduce his offense level as a minor or minimal participant. At the time of sentencing,

Application Note 3(c) to Section 3B1.2 provided as follows:

       Fact-Based Determination.—The determination whether to apply subsection (a) or
       subsection (b), or an intermediate adjustment, is based on the totality of the

                                                 -8-
Case 2:12-cr-20066-KHV          Document 2013          Filed 02/21/17      Page 9 of 12




       circumstances and involves a determination that is heavily dependent upon the facts
       of the particular case.

U.S.S.G. § 3B1.2, cmt. 3(C) (Nov. 1, 2014 ed.). As explained above, Amendment 794 provided

additional guidance to district courts in determining when a mitigating role adjustment applies under

Section 3B1.2.     See Amendment 794, Supp. to App. C (Nov. 1, 2015).                   In particular,

Amendment 794 added commentary to Application Note 3(c) as follows:

       In determining whether to apply subsection (a) or (b), or an intermediate adjustment,
       the court should consider the following non-exhaustive list of factors:

       (i) the degree to which the defendant understood the scope and structure of the
       criminal activity;

       (ii) the degree to which the defendant participated in planning or organizing the
       criminal activity;

       (iii) the degree to which the defendant exercised decision-making authority or
       influenced the exercise of decision-making authority;

       (iv) the nature and extent of the defendant's participation in the commission of the
       criminal activity, including the acts of the defendant performed and the responsibility
       and discretion the defendant had in performing those acts;

       (v) the degree to which the defendant stood to benefit from the criminal activity.

       For example, a defendant who does not have a proprietary interest in the criminal
       activity and who is simply being paid to perform certain tasks should be considered
       for an adjustment under this guideline.

       The fact that a defendant performs an essential or indispensable role in the criminal
       activity is not determinative. Such a defendant may receive an adjustment under this
       if he or she is substantially less culpable than the average participant in the criminal
       activity.

U.S.S.G. § 3B1.2, cmt. 3(C).6



       6
            Amendment 794 also made minor changes to Application Notes 4 and 5. See
Amendment 794, Supp. to App. C (Nov. 1, 2015).

                                                 -9-
Case 2:12-cr-20066-KHV         Document 2013          Filed 02/21/17   Page 10 of 12




        The Sixth, Ninth and Eleventh Circuits have concluded that Amendment 794 is a clarifying

amendment which is retroactive to cases on direct appeal. United States v. Carter, No. 15-3618,

2016 WL 5682707, at *6 (6th Cir. Oct. 3, 2016); United States v. Quintero-Leyva, 823 F.3d 519, 523

(9th Cir. 2016); United States v. Cruickshank, 837 F.3d 1182, 1194 (11th Cir. 2016). Assuming that

Amendment 794 is a “clarifying” amendment, the Court also applies it retroactively under

Section 2255. See United States v. Torres-Aquino, 334 F.3d 939, 941 (10th Cir. 2003) (clarifying

amendment relates to correctness of sentence which should be raised on direct appeal or in

Section 2255 motion); see also United States v. Armstrong, 347 F.3d 905, 909 (11th Cir. 2003)

(clarifying amendments “may only be retroactively applied on direct appeal of a sentence or under

a § 2255 motion”).

        Even if the Court applied Amendment 794 retroactively in this case, however, defendant has

not shown a reasonable probability that his sentence would have been different. Defendant states

that he had a minimal role because he is less culpable than the average conspirator, he knew very

few of the other conspirators and he did not exercise any authority in the conspiracy. See Motion

To Vacate, Set Aside, Or Correct Sentence Under 28 U.S.C. § 2255 By U.S.S.G. Amendment § 3B1.2

(ECF No. 1971) at 4; (ECF No. 1971-1) at 2. Defendant classifies his involvement as simple “street

vending,” (ECF No. 1971) at 4, but he offers no specific comparison with other defendants in this

case.   Although not conclusive of whether defendant qualifies for an adjustment under

Section 3B1.2, the Court notes that only four of the 47 defendants who were convicted in this case

received a sentence greater than defendant’s initial sentence of 188 months. In addition, some

19 defendants in this case received sentences of 70 months or less; these sentences were

substantially lower than defendant’s reduced sentence of 151 months in prison. Defendant was

involved in more substantial crack cocaine transactions relative to most of his coconspirators. In


                                               -10-
Case 2:12-cr-20066-KHV          Document 2013           Filed 02/21/17    Page 11 of 12




particular, Mr. Carter sold ounce or multi-ounce quantities of crack cocaine to informants on three

or four occasions, he was “fronted a kilogram of cocaine for $30,000” and he participated in, or at

least was knowledgeable of, the conversion of powder cocaine to crack. See Presentence

Investigation Report (ECF No. 1131), ¶¶ 82-84. Given defendant’s substantial involvement in the

conspiracy relative to his coconspirators, the Court correctly omitted any mitigating role adjustment

under Section 3B1.2. See United States v. Llantada, 815 F.3d 679, 685 (10th Cir. 2016) (middleman

not necessarily entitled to reduction under Section 3B1.2).7

                                          CONCLUSION

       For the above reasons, the Court finds that the files and records in this case conclusively

show that defendant is not entitled to relief. No evidentiary hearing is required to resolve

defendant’s claim. See 28 U.S.C. § 2255; United States v. Marr, 856 F.2d 1471, 1472 (10th Cir.

1988) (no hearing required where court may resolve factual matters raised by Section 2255 petition

on record); United States v. Barboa, 777 F.2d 1420, 1422-23 (10th Cir. 1985) (hearing not required

unless petitioner’s allegations, if proved, would entitle her to relief and allegations not contravened

by record).

                             CERTIFICATE OF APPEALABILITY

       An appeal from a final order in a Section 2255 proceeding may not be taken unless a circuit

justice or judge issues a certificate of appealability. 28 U.S.C. § 2253(c)(1)(B). A certificate of

appealability may issue only if petitioner has made a “substantial showing of the denial of a



       7
               Defendant has not asserted ineffective assistance of counsel. In light of defendant’s
substantial involvement in the conspiracy, however, counsel’s failure to seek a mitigating role
adjustment under Section 3B1.2 was not deficient or prejudicial. See Strickland v. Washington, 466
U.S. 668, 687, 694 (1984) (to establish ineffective assistance of counsel, defendant must show that
counsel’s performance was deficient and a reasonable probability that but for counsel’ deficient
performance, the result of the proceeding would have been different).

                                                 -11-
Case 2:12-cr-20066-KHV          Document 2013           Filed 02/21/17    Page 12 of 12




constitutional right.” 28 U.S.C. § 2253(c)(2). This standard requires that petitioner demonstrate that

“reasonable jurists could debate whether (or, for that matter, agree that) the petition should have

been resolved in a different manner or that the issues presented were adequate to deserve

encouragement to proceed further.” United States v. Keyes, 280 F. App’x 700, 701 (10th Cir. 2008)

(quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)).            For the reasons detailed in this

Memorandum And Order, Mr. Carter has not made a substantial showing of the denial of a

constitutional right, and the Court therefore denies a certificate of appealability.

       THEREFORE, it is hereby

       ORDERED that defendant’s Motion To Vacate, Set Aside, Or Correct Sentence Under 28

U.S.C. § 2255 By U.S.S.G. Amendment § 3B1.2 (ECF No. 1971) is OVERRULED and that a

certificate of appealability as to the ruling on defendant’s Section 2255 motion is DENIED.

       Dated this 21st day of February, 2017 at Kansas City, Kansas.


                                                        _____________________________
                                                        SCOTT W. SKAVDAHL
                                                        United States District Judge




                                                 -12-
